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                                               THE CITY OF NEW YORK
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                                               NEW YORK, NEW YORK 10007                                   TEL: 212-356-0894
                                                                                                          CEL:646-498-7178



                                                                                             October 19, 2020
         BY ECF
         Honorable Paul G. Gardephe
         Thurgood Marshall
         United States Courthouse
         40 Foley Square
         New York, NY 10007

                            Re: R.F. obo K.F. v. N.Y.C. Dep’t of Educ., 20-cv-04693 (PGG)(OTW)

         Dear Judge Gardephe:

                 I am an Assistant Corporation Counsel in the office of James E. Johnson, Corporation
         Counsel, and the supervising attorney assigned to represent defendant New York City
         Department of Education in the above-referenced matter, wherein Plaintiff seeks attorneys’ fees,
         costs, an expenses for legal work on an administrative hearing under the Individuals with
         Disabilities Education Act, 20 U.S.C. §1400, et seq. (IDEA), as well as for this action.

                 I write, first, to apologize for the parties’ failure to timely submit a joint letter in accord
         with the Court’s Order at Dkt. No. 6. While I cannot speak for Plaintiff, Defendant’s failure to
         confer with Plaintiff in order to timely comply arose due to extreme administrative difficulties
         resulting from the loss of six full time attorneys who handled solely IDEA fess actions. This loss
         was mandated six months ago due to the fiscal impact of COVID-19 on the City. I will make
         every effort to ensure compliance with all future deadlines, and apologize for the inconvenience
         caused by the parties’ failure to comply.

                 Next, Defendant respectfully requests an adjournment of the conference scheduled for
         October 22, sine die. Plaintiff does not consent to this request. Defendant is confident that we
         will be able to make a first settlement offer within ten days’ time. And we note that my office
         has fully resolved dozens of these IDEA fees-only actions with plaintiffs represented by the
         Dayan Firm over the past several years, without a single case entailing any discovery or motion
         practice. Thus, the reason for this request is so that the parties may engage in settlement
         negotiations over the next four weeks, and submit a status letter no later than November 17, 2020
         informing the Court either that the matter has been fully resolved, or, that the parties either seek
         the assistance of Magistrate Judge Wang together with a briefing schedule.
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        In seeking consent, I asked Plaintiff to provide a basis for his position that a conference
with Your Honor is needed, but Plaintiff merely articulated the length of time this case has been
pending. Typically, in these IDEA fees-only cases, the parties are able to resolve the action fully
without needing to burden the Court with a conference. And, typically, that process takes three
to four months. It is unclear why Plaintiff believes a conference with the Court is needed at this
time.

       Accordingly, Defendant respectfully requests that the conference scheduled for October
22, be adjourned sine die, and that the parties submit a status report no later than November 17,
2020.

          Thank you for considering these requests.

                                                                        Respectfully submitted,

                                                                        /s/
                                                                        ___________________
                                                                        Martin Bowe
                                                                        Senior Counsel
cc:       Adam Dayan, Esq. (via ECF)




      MEMO ENDORSED

      The application is denied. The parties are directed to dial-in to the telephone
      conference scheduled for 10:30 a.m. on October 22, 2020.




      October 20, 2020
